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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


THE STATE OF GEORGIA
                                                    CIVIL ACTION FILE
v.
                                                    No. 1:23-CV-03792-SCJ
SHAWN MICAH TRESHER STILL,
                                               RE: NOTICE OF REMOVAL OF
                                               FULTON COUNTY SUPERIOR
     Defendant.                                    COURT INDICTMENT
                                                     NO. 23SC188947


                                         ORDER

       This matter appears before the Court on the Motion to Consolidate

Evidentiary Hearings filed by Defendant Shawn Still, to which the State has filed

a response of no objection. Doc. Nos. [9]; [12].

       In the absence of objection, the Court GRANTS the Motion to Consolidate.

       Accordingly, the September 18, 2023 (2:00 p.m.) hearing for the case sub

judice is CANCELED.

       Given the overlap in arguments and evidence, and in the interest of judicial

economy, a consolidated evidentiary hearing concerning the Notices of Removal

for the following three cases will be held on SEPTEMBER 20, 2023 at 9:30 A.M.
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(Richard B. Russell Federal Building and United States Courthouse, 75 Ted

Turner Drive, S.W., Atlanta, Georgia, Courtroom 1907):

      Georgia v. David James Shafer, Civil Action No. 1:23-cv-03720

      Georgia v. Shawn Micah Tresher Still, Civil Action No. 1:23-cv-03792

      Georgia v. Cathleen Alston Latham, Civil Action No. 1:23-cv-03803


      The Clerk is DIRECTED to file a copy of this Order in each of the three

above-stated civil action numbers.

      IT IS SO ORDERED this 11th day of September, 2023.



                                     ________________________________
                                     HONORABLE STEVE C. JONES
                                     UNITED STATES DISTRICT JUDGE




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